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 1   BRUCE LOCKE (#177787)
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 3   (916) 569-0667
     (916) 569-0665 fax
 4   Attorneys for
     CEDRIC ROBERSON
 5
 6                             IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8   UNITED STATES OF AMERICA,           )                  No. CR. S-10-211 GEB
                                         )
 9                     Plaintiff,        )
                                         )                  STIPULATION TO CONTINUE THE
10                                       )                  SENTENCING HEARING
           v.                            )                  FROM FEBRUARY 17, 2012 TO
11                                       )                  APRIL 20, 2012 AT 9:00 A.M.
     CEDRIC ROBERSON, et al.,            )
12                                       )
                       Defendants.       )
13   ____________________________________)
14          IT IS HEREBY STIPULATED AND AGREED between Terry Roberson and Cedric
15   Roberson, by and through their undersigned defense counsel, and the United States of America, by
16   and through its counsel, Assistant U.S. Attorney Jared Dolan, that the sentencing of both defendants
17   presently set for February 17, 2012 should be continued to April 20, 2012 at 9:00 a.m. The reason
18   for the continuance is that Terry Roberson has testified as a witness at a co-defendant’s trial, and the
19   defendants need to obtain a copy of the transcript of her testimony for use in the sentencing
20   proceedings, particularly with respect to objections to the presentence report. All the parties agree
21   that Terry Roberson and Cedric Roberson should be sentenced together. Mr. Dolan and Mr. Beevers
22   have authorized Mr. Locke to sign this pleading for them.
23          The defendants’ informal objections to the PSR shall be due on March 9, 2012; the PSR shall
24   be provided to the Court and served on counsel on or before March 23, 2012; motions to correct the
25   PSR shall be filed on or before April 6, 2012; and oppositions or statements of non-opposition shall
26   be filed on or before April 13, 2012.
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 2
 3   DATED: February 13, 2012                  /S/ Bruce Locke
                                         BRUCE LOCKE
 4                                       Attorney for Cedric Roberson
 5   DATED: February 13, 2012                  /S/ Bruce Locke
                                         For DOUGLAS J. BEEVERS
 6                                       Attorney for Terry Roberson
 7
 8   DATED: February 13, 2012                  /S/ Bruce Locke
                                         For JARED DOLAN
 9                                       Attorney for the United States
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11
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13
           IT IS SO ORDERED.
14
15   Dated: February 13, 2012

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17                                    GARLAND E. BURRELL, JR.
                                      United States District Judge
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